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                                                                     12/29/2022
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                                                                   THOMA.SDGIS T R ICT COURT
                                                                CLERK, U .S



   Date: December 29, 2022

   Sharon Johnson Coleman

   U.S. District Court

   Re: Emoji Company GmbH v. The Individuals, Corporations, Limited

   Liability Companies, Partnerships, and Unincorporated Associations

   Identified on Schedule A Hereto, 22-cv-03698



   Dear Judge Coleman:

        I am Chengzhi Xu, the owner of defendant GoBait in Emoji

   Company GmbH v. The Individuals, Corporations, Limited Liability

   Companies, Partnerships, and Unincorporated Associations Identified

   on Schedule A Hereto, Case No. 22-cv-03698. I write to respectfully

   request an extension nunc pro tune of time from the original due date

   September 7, 2022 to a new deadline January 31, 2023 to file my

   Answer.

        I ask for this extension because I am pro se, and it was difficult for

   me to meet this deadline because lack of professional legal support. In

   addition, since my English is not good, I need opposing counsel mail

   me a Chinese version of Complaint to my China address.

      This is my first request for an extension.
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